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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION

  TRAXCELL TECHNOLOGIES, LLC,
          Plaintiff,

       v.                                                CASE NO. 6:20-CV-01175
  VERIZON WIRELESS PERSONAL
  COMMUNICATIONS, LP,
           Defendant.                                    JURY DEMAND


        PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Traxcell Technologies, LLC. (“Traxcell”) files this Original Complaint, and demand for

jury trial seeking relief from patent infringement by Verizon Wireless Personal Communications,

LP (“Defendant” or “Verizon”), alleging infringement of the claims of U.S. Pat. No. 9,918,196;

U.S. Pat. No. 10,390,175; U.S. Pat. No. 10,701,517; U.S. Pat. No. 10,743,135; and, U.S. Pat. No.

10,820,147 (collectively referred to as “Patents-in-Suit”), as follows:

                                    I.       THE PARTIES

   1.   Plaintiff Traxcell is a Texas Limited Liability Company, with its principal place of

business located at 103 Country Club Drive. #508, Marshall, Texas 75672.

   2. Verizon Wireless Personal Communications, LP is Delaware corporation with its principal

place of business at One Verizon Way, Basking Ridge, New Jersey and a registered agent for

service of process at CT Corp System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

On information and belief, Verizon Wireless Personal Communications, LP sells and offers to sell

products and services throughout Texas, including in this judicial district, and introduces products

and services that perform infringing processes into the stream of commerce knowing that they

would be sold in Texas and this judicial district.




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                             II. JURISDICTION AND VENUE

3.   This is an action for patent infringement arising under the patent laws of the U.S., 35

     U.S.C. §§ 1 et. seq. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

     1331 and 1338(a).

4. This Court has personal jurisdiction over Defendants because: Defendants are present

     within or has minimum contacts within the State of Texas and this judicial district;

     Defendants have purposefully availed itself of the privileges of conducting business in the

     State of Texas and in this judicial district; Defendants regularly conducts business within

     the State of Texas and within this judicial district; and Plaintiff’s cause of action arises

     directly from Defendants’ business contacts and other activities in the State of Texas and

     in this judicial district.

5. Venue is proper in this district under 28 U.S.C. § 1400(b). Defendants have committed

     acts of infringement and have a regular and established place of business in this District.

             III. INFRINGEMENT (‘196 Patent (attached as Exhibit A))

6.   On March 13, 2018, U.S. Patent No. 9,918,196 (“the ’196 patent”), attached as Exhibit A,

     entitled “Internet queried directional navigation system with mobile and fixed originating

     location determination” was duly and legally issued by the U.S. Patent and Trademark

     Office. Traxcell owns the ’196 patent by assignment.

7. The ’196 Patent’s Abstract states, “A mobile wireless network and a method of operation

     provide directional assistance in response to an Internet query. The directional assistance

     is provided from a location of the querying device to a destination that may be selectively

     prompted based on whether the destination is a nearby business, a type of business, a street

     address, or another mobile device or fixed telephone location. The location of the querying



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                       device is also selectively determined depending on whether the querying device is a

                       wireless device such as a mobile telephone, or whether the device has a presumed fixed

                       location, such as an ordinary telephone connected to a public-switched telephone network

                       (PSTN).

                8. The following preliminary exemplary chart provides notice of Traxcell’s allegations of

                       infringement.

     Claim 1                                     Corresponding Structure in Accused Systems

1. A method of           Verizon’s wireless telecommunications network that supports the Apple Maps online
providing                navigation service together with the Apple Maps (or other navigation/mapping service
navigation               provider) server-side or cloud infrastructure needed to provide the service, constitute the
assistance to a user     “Accused System”.
of a
communications           The term “Apple Maps” encompasses and includes all the versions and variants of the Apple
device, the method       Maps web (for PCs, laptops and other computers functioning with macOS or Mac OS X
comprising:              operating systems) and the Apple Maps app [Apple Maps app for iOS devices (iPhone, iPad,
                         iPod Touch etc.,) and watchOS devices] and the applications supported by the Apple Maps
                         Platform.

                         The “method of providing navigation assistance to a user of a communications device” refers to
                         the method by which Apple Maps provides online navigation assistance (directions) to a user of
                         a communications device or UE (example: mobile phone, smartphone, laptop, tablet, iPhone,
                         iPad, iPod Touch etc.) including the Apple Maps app or including a browser plugin enabling
                         access to the Apple Maps website or having other means to access the Apple Maps website, for
                         querying and receiving navigation instructions for travelling from a starting location (current
                         location of the communications device or a location specified by its user as the ‘origin’) to a
                         destination location (a location specified by the said user as the ‘destination’).
receiving, by a          Navigation using Apple Maps online navigation service (or other navigation/mapping service)
directional              is a well-known example of off-board navigation. To elaborate, an off-board navigation system
assistance service,      is a client/server system wherein only the user interface (UI) resides on the client’s (user’s)
                         communications device and all the databases (GIS and/or mapping) and infrastructure required
an Internet query
                         for computation (of route, distance, travel time, traffic etc.) reside remotely on a server or a
initiated at the         network of servers (the server-side) located on the world wide web (www). The server-side
communications           could also comprise virtual (instead of physical) or cloud server infrastructure. The client side
device and               (user interface or UI at a user’s communications device) can only communicate with the server-
directed via the         side via the Internet.
Internet to initiate
a request for

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     Claim 1                                 Corresponding Structure in Accused Systems

navigational         This claim element refers to the method and process involved in initiating a navigation query,
assistance to a      using Apple Maps online navigation service, to obtain directions (navigation assistance) for
destination;         travelling from a starting location to a destination location. The process involved in initiating
                     the said navigation query includes inputting a destination location at the Apple Maps’ user
                     interface (UI) at the user’s communications device, and sending the said query via Internet to
                     the remote Apple Maps server (cloud server). The said remote Apple Maps server (cloud
                     server) receives the said query via Internet.

                     The term “directional assistance service” herein refers to Apple Maps online navigation service
                     supported and facilitated by Verizon’s wireless telecommunications network.
responsive to        Apple Maps (or other navigation/mapping service) is is programmed to identify the “phone
receiving the        number” and the “device identifiers” of the communications device (UE) at which the said
Internet query,      navigation query is initiated. In other words, Apple Maps determines whether or not the said
                     communications device (UE) is a mobile wireless communications device (UE)
determining
whether or not the   “a mobile wireless communications device” refers to a mobile wireless communications device
communications       or UE (example: mobile phone, smartphone, laptop, tablet, iPhone, iPad, iPod Touch etc.),
device is a mobile   which includes the Apple Maps app or includes a browser plugin enabling access to the Apple
wireless             Maps website or has other means to access the Apple Maps website for querying and receiving
communications       navigation instructions for travelling from a starting point (current location of the
device;              communication’s device or a location specified by its user as the ‘origin’) to a destination
                     location (a location specified by the said user as the ‘destination’). The said mobile wireless
                     communications device being a subscriber of Verizon’s wireless telecommunications network
                     services. Any wireless mobile communications device, which uses Verizon’s Mobile Hotspot
                     for connecting to the Internet and includes the Apple Maps app or a browser plugin enabling
                     access to the Apple Maps website or has other means to access the Apple Maps website, also
                     corresponds to this claim element.

                     In Attachment 6, Apple’s Privacy Policy document, it is clearly indicated that Apple (which
                     includes Apple Maps) collects information such as phone number and device identifiers
                     pertaining to the communications device (UE) at which a navigation query is initiated and
                     communicated to the Apple Maps server. In other words, Apple Maps has means to
                     determine whether a querying communications device (UE) is a mobile wireless
                     communications device (UE) or not.

                     The following is mentioned therein –

                     “What personal information we collect

                     When you create an Apple ID, apply for commercial credit, purchase a product, download a
                     software update, register for a class at an Apple Retail Store, connect to our services, contact us
                     including by social media or participate in an online survey, we may collect a variety of
                     information, including your name, mailing address, phone number, email address, contact


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     Claim 1                                 Corresponding Structure in Accused Systems

                     preferences, device identifiers, IP address, location information, credit card information and
                     profile information where the contact is via social media.”


                     In the aforementioned, it is also mentioned that when a user connects to Apple’s services (like
                     Apple Maps online navigation), Apple also collects the IP address from which the said user
                     connects to Apple’s services (like Apple Maps online navigation). In other words, when a user
                     connects to the Apple Maps server using the client-side UI on his/her communications device
                     (UE) via Internet, the Apple Maps server collects the IP address from which the said user
                     connects to the Apple Maps server.

                     Based on the above information, it is confirmed that whenever a communications device uses
                     Apple Maps, information such as mobile network information including the name of the carrier
                     providing data services to the said communications device are collected by Apple (Apple
                     Maps). In other words, Apple Maps can also ascertain whether the communications device
                     (UE) at which the said navigation query is initiated, is connected to the Apple Maps server
                     through Verizon’s wireless telecommunications network service (i.e. through RF signal-based
                     communication) or through a Wi-Fi network supported by a fixed (wired or wireless)
                     broadband Internet service.

                     In summary, Apple Maps has means to determine whether a querying communications device
                     (UE) is a mobile wireless communications device (UE) or not, and also whether the said
                     communications device (UE) is connected to the Apple Maps server through Verizon’s wireless
                     telecommunications network service (i.e. through RF signal-based communication) or through
                     a Wi-Fi network supported by a fixed (wired or wireless) broadband Internet service.
responsive to        If the Apple Maps online navigation service (or other navigation/mapping service) is
determining that     determines that the said navigation query has been initiated at a mobile wireless
the                  communications device (UE), and that the said query was communicated through Verizon’s
                     wireless telecommunications network service (i.e. through RF signal-based communication),
communications
                     Apple Maps determines current location of the mobile wireless communications device (UE)
device is the        and uses it as the starting point for providing navigation information (instructions or directions)
mobile wireless      to travel to the destination input by the user of the said communications device (UE).
communications
device, the          The “the mobile wireless communications device” or the “communications device” refers to the
directional          mobile wireless communications device or UE (example: mobile phone, smartphone, laptop,
assistance service   tablet, iPhone, iPad, iPod Touch etc.) at which the navigation query was initiated.
determining and
                     A user can simply input a “destination” entry and initiate a navigation query on the Apple
using a present      Maps’ client-side user interface (UI) at the user’s mobile wireless communications device
location of the      (Apple Maps app on an iPhone). The Apple Maps server, upon receiving the navigation query
mobile wireless      (including input “destination”) from the client-side via Internet, determines the “current
communications       location” of the user’s mobile wireless communications device, uses it as the default starting
device as a          point, ascertains the location of the input “destination”, computes or calculates the route(s) and
location of the

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     Claim 1                                  Corresponding Structure in Accused Systems

communications        directions, and downloads the computed or calculated route(s) and directions to the user’s
device;               mobile wireless communications device.

                      As has been mentioned with reference to the previous claim element, Apple Maps, upon
                      receiving a navigation query from a user’s communications device, determines whether or not
                      the said communications device is a mobile wireless communications device.

                      It is clearly indicated in Attachment 47, that a user can simply input a “destination” entry and
                      initiate a navigation query on the Apple Maps’ client-side user interface (UI) at the user’s
                      mobile wireless communications device (Apple Maps app on iPhone, iPad or iPod Touch). The
                      Apple Maps server, upon receiving the navigation query (including input “destination”) from
                      the client-side via Internet, determines the “current location” of the user’s mobile wireless
                      communications device, uses it as the default starting point, ascertains the location of the input
                      “destination”, computes or calculates the route(s) and directions, and downloads the computed
                      or calculated route(s) and directions to the user’s mobile wireless communications device. The
                      following is mentioned therein –

                      “Get directions

                      1. Open Maps and enter your destination in the Search bar.

                      2. Tap Directions.

                      3. Choose Drive, Walk, Transit, or Ride.

                      4. Select the route that you prefer. Maps shows the fastest route first based on traffic conditions.

                      5. When you're ready, tap “GO”. To see an overview of your route, tap "Tap for Overview" in
                      the banner.

                      6. To end navigation, tap “End”, in the bottom right corner. Then tap End Route. You can also
                      ask Siri to "Stop Navigating" when you have Hands-Free turned on.”

responsive to         As mentioned previously, Apple Maps (or other navigation/mapping service) is programmed to
determining that      identify the “phone number” and the “device identifiers” of the communications device (UE)]
the                   at which the said navigation query is initiated, and also to ascertain the IP address from where
                      the communications device (UE) at which the said navigation query is initiated connected to the
communications
                      Apple Maps server.
device is not the
mobile wireless       In other words, Apple Maps has means to determine whether a querying communications
communications        device (UE) is a mobile wireless communications device (UE) or not, and also whether the said
device, obtaining a   communications device (UE) is connected to the Apple Maps server through Verizon’s wireless
fixed location        telecommunications network service (i.e. through RF signal-based communication) or through
                      a Wi-Fi network supported by a fixed (wired or wireless) broadband Internet service.

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     Claim 1                                  Corresponding Structure in Accused Systems

associated with the
communications        In Attachment 6, Apple’s Privacy Policy document, it is clearly indicated that Apple (which
device to             includes Apple Maps) collects information such as phone number and device identifiers
                      pertaining to the communications device (UE) at which a navigation query is initiated and
determine the
                      communicated to the Apple Maps server. In other words, Apple Maps has means to
location of the       determine whether a querying communications device (UE) is a mobile wireless
communications        communications device (UE) or not.
device; and
                      The following is mentioned therein –

                      “What personal information we collect

                      When you create an Apple ID, apply for commercial credit, purchase a product, download a
                      software update, register for a class at an Apple Retail Store, connect to our services, contact us
                      including by social media or participate in an online survey, we may collect a variety of
                      information, including your name, mailing address, phone number, email address, contact
                      preferences, device identifiers, IP address, location information, credit card information and
                      profile information where the contact is via social media.”


                      In the aforementioned, it is also mentioned that when a user connects to Apple’s services (like
                      Apple Maps online navigation), Apple also collects the IP address from which the said user
                      connects to Apple’s services (like Apple Maps online navigation). In other words, when a user
                      connects to the Apple Maps server using the client-side UI on his/her communications device
                      (UE) via Internet, the Apple Maps server collects the IP address from which the said user
                      connects to the Apple Maps server.

                      Based on the above information, it is confirmed that whenever a communications device uses
                      Apple Maps (or other navigation/mapping service), information such as mobile network
                      information including the name of the carrier providing data services to the said
                      communications device are collected by Apple (Apple Maps). In other words, Apple Maps can
                      also ascertain whether the communications device (UE) at which the said navigation query is
                      initiated, is connected to the Apple Maps server through Verizon’s wireless
                      telecommunications network service (i.e. through RF signal-based communication) or through
                      a Wi-Fi network supported by a fixed (wired or wireless) broadband Internet service.

                      In summary, Apple Maps has means to determine whether a querying communications device
                      (UE) is a mobile wireless communications device (UE) or not, and also whether the said
                      communications device (UE) is connected to the Apple Maps server through Verizon’s wireless
                      telecommunications network service (i.e. through RF signal-based communication) or through
                      a Wi-Fi network supported by a fixed (wired or wireless) broadband Internet service.

                      If Apple Maps determines that the communications device (UE) at which the said navigation
                      query is initiated is not a mobile wireless communications device, or in other words, if the said

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     Claim 1                                  Corresponding Structure in Accused Systems

                      communications device (UE) is determined to be a stationary or fixed communications device,
                      for example – a Mobile phone, smartphone, iPhone, iPad, iPod Touch, laptop or tablet
                      connected or tethered to a Wi-Fi (internet) access point, modem, router or Wi-Fi hotspot
                      supported by a fixed (wired or wireless) broadband Internet Service, Apple Maps determines
                      the location of the said stationary or fixed communications device by identifying the Internet
                      Service Provider or Wi-Fi hotspot serving the said communications device and obtaining the
                      stationary location of the said Wi-Fi (internet) access point, modem, router or hotspot from a
                      Wi-Fi database, Wi-Fi location database or Wi-Fi hotspot database.
                      “Additionally, some cell phones, are designed to be able to connect to the Internet via a cellular
                      broadband network and/or via Wi‐Fi network (aka a local wireless Internet access point). If a
                      cell phone connects via a Wi‐Fi network, that connection can also disclose more or less precise
                      information about a cell phone’s location depending upon how the Internet Service Provider
                      provides the wireless Internet connection. Some cell phones also keep a temporary file of
                      nearby cell phone towers and Wi‐Fi hotspots (places that offer local wireless Internet access), to
                      potentially make the cell phone user’s connectivity more efficient.”

the directional       In response to receiving the navigation query (which includes the “destination” entry input by
assistance service    the user at the Apple Maps client-side user interface or UI residing at the user’s
providing             communications device) initiated at the communications device (UE) and directed via the
                      Internet, Apple Maps server determines the current location of the querying (the user’s)
navigation
                      communications device, considers it the default starting point, ascertains the location of the
information to the    input “destination”, computes and provides the navigation information (directions) to the said
communications        communications device (UE) to travel from the current location of said communications device
device in response    (UE) to the input destination.
to the Internet
query, wherein the    A user can simply input a “destination” entry and initiate a navigation query on the Apple
navigation            Maps’ client-side user interface (UI) at the user’s mobile wireless communications device
provides directions   (Apple Maps app on iPhone, iPad or iPod Touch). The Apple Maps server, upon receiving the
for proceeding        navigation query (including input “destination”) from the client-side via Internet, determines
from the location     the “current location” of the user’s mobile wireless communications device, uses it as the
of the                default starting point, ascertains the location of the input “destination”, computes or calculates
communications        the route(s) and directions, and downloads the computed or calculated route(s) and directions to
device to a           the user’s mobile wireless communications device. In this manner, Apple Maps provides the
location of the       navigation information (directions) to the said communications device (UE) to travel from the
destination.          current location of said communications device (UE) to the input destination.

                      The following is mentioned therein –

                      “Get directions

                      1. Open Maps and enter your destination in the Search bar.



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Claim 1                                  Corresponding Structure in Accused Systems

                2. Tap Directions.

                3. Choose Drive, Walk, Transit, or Ride.

                4. Select the route that you prefer. Maps shows the fastest route first based on traffic conditions.

                5. When you're ready, tap “GO”. To see an overview of your route, tap "Tap for Overview" in
                the banner.

                6. To end navigation, tap “End”, in the bottom right corner. Then tap End Route. You can also
                ask Siri to "Stop Navigating" when you have Hands-Free turned on.”



          9. Defendant makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

             networks, wireless-network components, and related services that use identified locations

             of wireless devices to provide directional assistance such that Defendant infringes claims

             1–30 of the ’196 patent, literally or under the doctrine of equivalents.


          10. Defendant put the inventions claimed by the ’196 Patent into service (i.e., used them); but

             for Defendant’s actions, the claimed-inventions embodiments involving Defendant’s

             products and services would never have been put into service.              Defendant’s acts

             complained of herein caused those claimed-invention embodiments as a whole to perform,

             and Defendant obtaining monetary and commercial benefit from it.

          11. Defendant has and continues to induce infringement. Defendants have actively encouraged

             or instructed others (e.g., its customers), and continues to do so, on how to use its products

             and services (e.g., U.S. wireless networks, wireless-network components that use identified

             locations of wireless devices to provide directional assistance) such to cause infringement

             claims 1–30 of the ’196 patent, literally or under the doctrine of equivalents. Moreover,

             Defendant has known and should have known of the ’196 patent, by at least by the date of


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      the patent’s issuance, or from the issuance of the ‘284 patent, which followed the date that

      the patent’s underlying application was cited to Defendants by the U.S. Patent and

      Trademark Office during prosecution of one of Defendant’s patent applications, such that

      Defendant knew and should have known that it was and would be inducing infringement.

   12. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

      or instructed others (e.g., its customers and/or the customers of its related companies), and

      continues to do so, on how to use its products and services e.g., U.S. wireless networks,

      wireless-network components that use identified locations of wireless devices to provide

      directional assistance) such as to cause infringement of one or more of claims 1–30 of the

      ’196 patent, literally or under the doctrine of equivalents. Moreover, Defendant has known

      of the ’196 patent and the technology underlying it from at least the date of issuance of the

      patent or from the issuance of the ‘284 patent, which followed the date that the patent’s

      underlying application was cited to Defendants by the U.S. Patent and Trademark Office

      during prosecution of one of Defendant’s patent applications, such that Defendant knew

      and should have known that it was and would be contributorily infringing.

   13. Defendants have caused and will continue to cause Traxcell damage by infringing the ’196

      patent.

IV. INFRINGEMENT (‘175 Patent (attached as Exhibit B))

   14. On August 20, 2019, U.S. Patent No. 10,390,175 (“the ‘175 patent”), attached as Exhibit

      B, entitled “Mobile wireless device tracking and notification system” was duly and legally

      issued by the U.S. Patent and Trademark Office. Traxcell owns the ’175 patent by

      assignment.




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           15. The ’175 Patent’s Abstract states, “A mobile wireless network and a method of operation

               provide tracking of mobile devices either in a passive mode or an active mode. In the

               passive mode, fault detection triggers generation of a case file associated with the device

               experiencing the fault. In the active mode, a user of the system can specify tracking mobile

               devices by sector or one or more mobile devices by identifier. Notifications can be

               generated in response to detection of a fault, or when a device enters a predetermined

               geographic region.”

           16. The following preliminary exemplary chat provides Traxcell’s allegations of infringement.

 Exemplary Claim                          Corresponding Structure in Accused Systems

A system including:



at least one radio-     Plaintiff contends that the Verizon network use base stations. Base stations include at
  frequency             least one radio-frequency transceiver designed and used in association with at least
  transceiver and an    one antenna. When base-station transceivers and antennas are in communication, they
  associated at least   are coupled. Further, in addition to being so coupled, the transceivers and antenna are
  one antenna to        also, by placement within a base station, physically coupled.
  which the at least
  one radio-            The following exemplifies this limitation’s existence in Accused Systems:
  frequency
  transceiver is
  coupled,




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 Exemplary Claim                          Corresponding Structure in Accused Systems




wherein the at least    Plaintiff contends each base station has a RF transceiver whose parameters have been
 one radio-             configured for RF communication with mobile wireless communications devices.
 frequency
 transceiver is
 configured for
 radio-frequency
 communication
 with at least one
 mobile wireless
 communications
 device; and



a system of             Please note that Verizon uses three types of self-organizing network technology, that
  computers coupled     is, C-SON, D-SON and V-SON and uses network equipment or solutions supplied
  to the at least one   from vendors, for example, from Ericsson, etc. In addition to RAN vendor and third-
  radio-frequency       party supplied SON features, Verizon has also developed its own proprietary SON
  transceiver           implementation, known as V-SON.
  programmed to
  locate the at least   Plaintiff contends that a system of computers including Operations Support System
  one mobile            (OSS or OSS-RC) of Verizon Wireless’ wireless telecommunications network,


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Exemplary Claim                        Corresponding Structure in Accused Systems

wireless             Ericsson’s SON solution [which includes SON Optimization Manager, SON Policy
communications       Manager, SON Visualization, etc. and the software programs that run them]
device and acquire   interfaced or integrated with said Operations Support System (OSS or OSS-RC), and
an indication of a   a set or network of computers [which include Trace Processing Server (TPS), OSS
location of the at   Data Gateway, RAN Analyzer, RAN Configuration Manager, Frequency Optimizer,
least one mobile     Cell Optimizer, Network Capacity Planner and Implementation Server] operating,
wireless             implementing and supporting the Ericsson’s SON solution in Verizon Wireless’ said
communications       wireless telecommunications network, constituting the “system of computers,”
device,              corresponds to this claim limitation, as the SON Optimization Manager ascertains the
                     location information of UEs from MDT (Minimization of Drive Tests) reports, UE
                     Measurement Reports, CTR (Cell Traffic Recordings), UETR (UE Traffic
                     Recording), etc. received or collected in the form of PM and Trace data.

                     Further, Ericsson’s SON solution includes SON Optimization Manager (SON OM),
                     SON Policy Manager, SON Visualization, etc. Ericsson SON Suite includes the
                     software programs that run the Ericsson’s SON solution. The system of computers
                     supporting the Ericsson’s SON solution include Verizon Wireless’ wireless
                     telecommunications network’s Operations Support System (OSS or OSS-RC), Trace
                     Processing Server (TPS), OSS Data Gateway, RAN Analyzer, RAN Configuration
                     Manager, Frequency Optimizer, Cell Optimizer, Network Capacity Planner and
                     Implementation Server. (Please note that Ericsson SON Optimization Manager
                     together with Ericsson Network Manager and Network IQ delivers the full suite.)

                     Also, Ericsson’s SON solution is integrated/interfaced with the client wireless
                     network’s (in the present case, Verizon Wireless’) Operations Support System (OSS
                     or OSS-RC) and other systems in the OAM (Operations, Administration and
                     Management) level of the network architecture. The client MNO’s (Verizon
                     Wireless’) wireless network’s Operations Support System (OSS or OSS-RC) is
                     communicatively connected to the Radio Access Network (RAN) portion of the client
                     MNO’s (Verizon Wireless’) wireless network. The said Radio Access Network
                     (RAN) includes base stations (NodeBs, eNodeBs, RBSetc.). Thus, Ericsson’s SON
                     solution is communicatively connected to the base stations (NodeBs, eNodeBs, RBS
                     etc.) in the Radio Access Network (RAN) portion of the client MNO’s (Verizon
                     Wireless’) wireless network. The system is coupled to these base station(s)
                     communicatively and in some Accused Systems structurally by system-architecture
                     structure (e.g., wire) to locate one or more mobile wireless communications devices
                     and generate or acquire an indication of locations of those devices.

                     Cells include base stations for transmission and reception of wireless signals to and
                     from the mobile wireless communication devices or UEs or user devices (mobile

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 Exemplary Claim                         Corresponding Structure in Accused Systems

                       phones, laptops, tablets, PDAs etc.). These base stations are, therefore, RF
                       transceivers. Also, these base stations are coupled with at least one antenna for the
                       function of transmission and reception.

wherein the system     Plaintiff contends that a network of computers including Operations Support System
 of computers          (OSS or OSS-RC) of Verizon Wireless’ wireless telecommunications network,
 further receives      Ericsson’s SON solution [which includes SON Optimization Manager, SON Policy
 and stores            Manager, SON Visualization, etc. and the software programs that run them]
 performance data      interfaced or integrated with said Operations Support System (OSS or OSS-RC), and
 of connections        a set or network of computers [which include Trace Processing Server (TPS), OSS
 between the at        Data Gateway, RAN Analyzer, RAN Configuration Manager, Frequency Optimizer,
 least one mobile      Cell Optimizer, Network Capacity Planner and Implementation Server] operating,
 wireless              implementing and supporting the Ericsson’s SON solution in Verizon Wireless’ said
 communications        wireless telecommunications network, constituting the “System of Computers”
 device and the at     corresponds to this claim limitation. That is, the system of computers executing or
 least one radio       loaded with Ericsson’s SON solution {which includes SON Optimization Manager
 frequency             (SON OM), SON Policy Manager, SON Visualization, etc. and the software programs
 transceiver along     that run them} in the wireless telecommunications network, corresponds to this claim
 with the indication   limitation, as the system of computers executing or loaded with Ericsson SON
 of the location,      Optimization Manager, SON Policy Manager, SON Visualization, etc. receives
                       performance data of connections between the one or more mobile wireless
                       communications devices and radio frequency transceivers (i.e., base-stations or radio
                       towers) from Position Referencing Signals (PRS), the MDT (Minimization of Drive
                       Tests) reports, UE Measurement Reports, Trace data, etc. and stores the performance
                       data along with indication of the location.

                       The software code is programmed to store the performance data and corresponding
                       location for a wireless device in a memory associated with the system of computers
                       because the software code is programmed to collect performance measurements
                       pertaining to qualitative and quantitative aspects of the operation of wireless network.

                       The system of computers installed or compatible with Ericsson’s SON solution
                       [which includes SON Optimization Manager, SON Policy Manager, SON
                       Visualization, etc.] routinely receives performance measurements pertaining to
                       qualitative and quantitative aspects (for example, expressed in terms of KPIs) of RF-
                       based interactions between the UEs and the base-stations which can include
                       performance data along with location information of mobile wireless communications
                       devices. Further, the collected data is stored by the system of computers.



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 Exemplary Claim                         Corresponding Structure in Accused Systems

wherein the system     Plaintiff contends that the system of computers executing or loaded with Ericsson’s
 of computers,         SON solution (which includes SON Optimization Manager (SON OM), SON Policy
 responsive to a       Manager, SON Visualization, etc.) receives user or operator input specifying a
 first user input      selection between operating in different modes or methods, for example, signalling
 specifying a          based MDT or trace, management (or area) based MDT or trace, etc.
 selection between
 operating in an
 active mode or a
 passive mode,

wherein the system     Plaintiff contends that the user or operator by using system of computers executing
 of computers,         or loaded with Verizon’s Ericsson’s SON solution (which includes SON Optimization
 responsive to         Manager (SON OM), SON Policy Manager, SON Visualization, etc.) can specify at
 selection of the      least one mobile wireless communications device to track as well as a time period to
 active mode,          track the at least one mobile wireless communications device by selecting methods,
 receives a second     for example, Position referencing Signals (PRS), signaling based MDT trace,
 user input            management (or area) based MDT or trace, etc. Further, a file or a record is generated
 specifying the at     containing location(s) of the at least one mobile wireless communications device for
 least one mobile      the specified time period.
 wireless
 communications
 device to track and
 a time period to
 track the at least
 one mobile
 wireless
 communications
 device and
 generates a case
 file containing
 locations of the at
 least one mobile
 wireless
 communications
 device over the
 specified time
 period, and




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 Exemplary Claim                            Corresponding Structure in Accused Systems

                         Plaintiff contends that the system of computers executing or loaded with Ericsson’s
wherein the system
                         SON solution (which includes SON Optimization Manager (SON OM), SON Policy
 of computers,
                         Manager, SON Visualization, etc.) can receive user input specifying at least one
 responsive to
                         sector (for example, by selecting methods such as Management (or Area) based MDT
 selection of the
                         or trace, etc.) as well as an error criteria to use in conjunction with generating the case
 passive mode,
                         file.
 receives a third
 user input              The following exemplifies this limitation’s existence in Accused Systems:
 specifying at least
 one sector and an
 error criteria to use
 in conjunction with
 generating the case
 file.



           17. Defendant makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

               networks, wireless-network components, and related services that use identified locations

               of wireless devices to provide tracking such that Defendant infringes claims 1–18 of the

               ’175 patent, literally or under the doctrine of equivalents.


           18. Defendant put the inventions claimed by the ’175 Patent into service (i.e., used them); but

               for Defendant’s actions, the claimed-inventions embodiments involving Defendant’s

               products and services would never have been put into service.                 Defendant’s acts

               complained of herein caused those claimed-invention embodiments as a whole to perform,

               and Defendant obtaining monetary and commercial benefit from it.

           19. Defendant has and continues to induce infringement. Defendants have actively encouraged

               or instructed others (e.g., its customers), and continues to do so, on how to use its products

               and services (e.g., U.S. wireless networks, wireless-network components that use identified

               locations of wireless devices to provide tracking of mobile devices) such to cause

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        infringement claims 1–18 of the ’175 patent, literally or under the doctrine of equivalents.

        Moreover, Defendant has known and should have known of the ’175 patent, by at least by

        the date of the patent’s issuance, or from the issuance of the ‘284 patent, which followed

        the date that the patent’s underlying application was cited to Defendants by the U.S. Patent

        and Trademark Office during prosecution of one of Defendant’s patent applications, such

        that Defendant knew and should have known that it was and would be inducing

        infringement.

     20. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

        or instructed others (e.g., its customers and/or the customers of its related companies), and

        continues to do so, on how to use its products and services e.g., U.S. wireless networks,

        wireless-network components that use identified locations of wireless devices to provide

        tracking of mobile devices) such as to cause infringement of one or more of claims 1–18

        of the ’175 patent, literally or under the doctrine of equivalents. Moreover, Defendant has

        known of the ’175 patent and the technology underlying it from at least the date of issuance

        of the patent or from the issuance of the ‘284 patent, which followed the date that the

        patent’s underlying application was cited to Defendants by the U.S. Patent and Trademark

        Office during prosecution of one of Defendant’s patent applications, such that Defendant

        knew and should have known that it was and would be contributorily infringing.

     21. Defendants have caused and will continue to cause Traxcell damage by infringing the ’175

        patent.

V.        INFRINGEMENT (‘517 Patent (Attached as exhibit C))

     22. On June 30, 2020, U.S. Patent No. 10,701,517 (“the ‘517 patent”), attached as Exhibit C,

        entitled “Wireless network and method for suggesting corrective action based on



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              performance and controlling access to location information” was duly and legally issued

              by the U.S. Patent and Trademark Office. Traxcell owns the ‘517 patent by assignment.

          23. The ‘517 Patent’s Abstract states, “A mobile device, wireless network and their method of

              operation provide suggestion of corrective actions of the network based on performance

              evaluation of communications between a connected mobile device and the communications

              network. The communications network tracks location of mobile devices and stores

              performance data of connections between the mobile devices and the network. The

              performance data is referenced to expected performance data to determine whether a fault

              exists and a corrective action is suggested when the fault exists. Access to the location

              information by another computer is controlled by a preference flag set in response to a

              communication from the mobile device.”

          24. The following preliminary exemplary chart provides notice of Traxcell’s allegations of

              infringement.

  Representative
                                         Corresponding Structure in Accused Systems
     Claim

A wireless network
including:

a radio tower          Plaintiff contends the Verizon wireless network has base stations adapted to transmits
  adapted to receive   and receive radio frequency signals from one or more wireless devices.
  radio frequency
  signals from, and
  transmit radio
  frequency signals
  to, at least one
  wireless device;




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  Representative
                                           Corresponding Structure in Accused Systems
     Claim




                                         Radio Tower(s)
a system of              Please note that Verizon uses three types of self-organizing network technology, that
  computers              is, C-SON, D-SON and V-SON and uses network equipment or solutions supplied
  programmed to          from vendors, for example, from Ericsson, etc. In addition to RAN vendor and third-
  perform steps of       party supplied SON features, Verizon has also developed its own proprietary SON
  referencing            implementation, known as V-SON.
  performance of the
  at least one           Plaintiff contends that a system of computers including Operations Support System
  wireless device        (OSS or OSS-RC) of Verizon Wireless’ wireless telecommunications network,
  with wireless          Ericsson’s SON solution [which includes SON Optimization Manager, SON Policy
  network known          Manager, SON Visualization, etc. and the software programs that run them] interfaced
  parameters and         or integrated with said Operations Support System (OSS or OSS-RC), and a set or
  routinely storing      network of computers [which include Trace Processing Server (TPS), OSS Data
  performance data       Gateway, RAN Analyzer, RAN Configuration Manager, Frequency Optimizer, Cell
  for the at least one   Optimizer, Network Capacity Planner and Implementation Server] operating,
  wireless device,       implementing and supporting the Ericsson’s SON solution in the wireless
                         telecommunications network, constituting the “system of computers,” corresponds to
                         this claim limitation.

                         Further, Ericsson’s SON solution includes SON Optimization Manager (SON OM),
                         SON Policy Manager, SON Visualization, etc. and the system of computers

                                                          19
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Representative
                                  Corresponding Structure in Accused Systems
   Claim

                 supporting the Ericsson’s SON solution include Verizon Wireless’ wireless
                 telecommunications network’s Operations Support System (OSS or OSS-RC), Trace
                 Processing Server (TPS), OSS Data Gateway, RAN Analyzer, RAN Configuration
                 Manager, Frequency Optimizer, Cell Optimizer, Network Capacity Planner and
                 Implementation Server. (Please note that Ericsson SON Optimization Manager
                 together with Ericsson Network Manager and Network IQ delivers the full suite.)

                 Plaintiff contends that the system of computers executing or loaded with Ericsson’s
                 SON solution {which includes SON Optimization Manager (SON OM), SON Policy
                 Manager, SON Visualization, etc.} is programmed to reference performance of the
                 wireless device(s) with wireless network known parameters and to routinely store
                 performance data for the wireless device(s). That is, the system of computers
                 executing or loaded with Ericsson’s SON solution receives or collects UE-referenced
                 network and device performance measurements from the MDT (Minimization of
                 Drive Tests) reports, UE Measurement Reports, etc. and compares the collected (or
                 received) performance data against the corresponding pre-defined standards or
                 thresholds.

                 The Ericsson’s SON solution has software code specifically designed for use by one
                 or more computers. The system of computers is linked or connected to the wireless
                 network consisting of the various network elements including the radio-tower(s) or
                 base-station(s).

                 Plaintiff contends that the system of computers executing or loaded with Ericsson’s
                 SON solution; and operating, implementing and supporting SON solution in the
                 wireless telecommunications network, corresponds to this claim limitation, as the
                 system of computers executing or loaded with Ericsson’s SON solution references
                 performance of the wireless device(s) with wireless network known parameters and
                 routinely stores performance data for the wireless device(s).

                 The Ericsson’s SON software codes are programmed to routinely store the
                 performance data for a wireless device in a memory or cache associated with the
                 system of computers because the software codes are programmed to collect
                 performance measurements pertaining to qualitative and quantitative aspects of the
                 operation of wireless network. That is, the system of computers installed or
                 compatible with Ericsson’s SON solution routinely references performance
                 measurements pertaining to qualitative and quantitative aspects of the wireless
                 device(s) (for example, expressed in terms of Key Performance Indices or KPIs,



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  Representative
                                        Corresponding Structure in Accused Systems
     Claim

                       Performance Metrics, Performance Data, etc.) with wireless network known
                       parameters and stores the performance data for one or more wireless devices.

wherein the system     Plaintiff contends that the system of computers executing or loaded with Ericsson’s
 of computers          SON solution {which includes SON Optimization Manager (SON OM), SON Policy
 further receives      Manager, SON Visualization, etc.} receives the performance data and suggests one or
 the performance       more corrective actions in conformity with a comparison of the performance data and
 data and suggests     the wireless network known parameters.
 at least one
 corrective action
 in conformity with
 a comparison of
 the performance
 data and the
 wireless network
 known parameters;
 and

another one or more    Plaintiff contends that the wireless network can include another computer(s) (for
  computers other      example, third-parties, LBS providers, subsidiaries, etc.) other than the system of
  than the system of   computers and another computer(s) is coupled in communication with the system of
  computers,           computers executing or loaded with Ericsson’s SON solution {which includes SON
  wherein at least     Optimization Manager (SON OM), SON Policy Manager, SON Visualization, etc. }.
  one of the another
  one or more          The following exemplifies this limitation’s existence in Accused Systems:
  computers is
  coupled in
  communication
  with the system of
  computers,




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  Representative
                                        Corresponding Structure in Accused Systems
     Claim




wherein the system     Plaintiff contends that another computer(s) (for example, third-parties, LBS
 of computers is       providers, subsidiaries, etc.) is coupled in communication with the system of
 programmed to         computers executing or loaded with Ericsson’s SON solution {which includes SON
 provide an            Optimization Manager (SON OM), SON Policy Manager, SON Visualization, etc.}.
 indication of         The system of computers can provide access to an indication of location to another
 location of the at    computer(s).
 least one wireless
 device to the
 another one or
 more computer,

and wherein the        Plaintiff contends that another computer(s) (for example, PDE, Positioning Engine,
  another one or       Location server, third-parties, LBS providers, subsidiaries, etc.) is coupled in
  more computers,      communication with the system of computers executing or loaded with Ericsson’s
  responsive to a      SON solution {which includes SON Optimization Manager (SON OM), SON Policy
  communication        Manager, SON Visualization, etc.}.
  from the at least
  one wireless         The Another computer(s) being in communication with the system of computers and
  device, set a no     responsive to a communication from the wireless devices.
  access flag within

                                                     22
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  Representative
                                          Corresponding Structure in Accused Systems
     Claim

 a memory of at
 least one of the
 another one or
 more computers,

and wherein the         Plaintiff contends that another computer(s) (for example, PDE, Positioning Engine,
  another one or        Location server, third-parties, LBS providers, subsidiaries, etc.) is coupled in
  more computers        communication with the system of computers executing or loaded with Ericsson’s
  provides access to    SON solution {which includes SON Optimization Manager (SON OM), SON Policy
  an indication of      Manager, SON Visualization, etc.}.
  location of the at
  least one wireless    The Another computer(s) being in communication with the system of computers and
  device from the       responsive to a communication from the wireless devices are capable of configuring
  another one or        or setting a no access flag within the memory of another computer(s).
  more computers if     Therefore, the Another computer(s) provides access to an indication of location from
  the no access flag    another computer(s) if the no access flag is reset and denies access to the indication
  is reset and denies   of location from another computer(s) if the no access flag is set.
  access to the
  indication of
  location of the at
  least one wireless
  device from the
  another one or
  more computers if
  the no access flag
  is set.



           25. Defendant makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

               networks, wireless-network components, and related services that use performance

               measurements to suggest corrective actions and controlling access to location information

               such that Defendant infringes claims 1–29 of the ‘517 patent, literally or under the doctrine

               of equivalents.



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26. Defendant put the inventions claimed by the ‘517 Patent into service (i.e., used them); but

   for Defendant’s actions, the claimed-inventions embodiments involving Defendant’s

   products and services would never have been put into service.              Defendant’s acts

   complained of herein caused those claimed-invention embodiments as a whole to perform,

   and Defendant obtaining monetary and commercial benefit from it.

27. Defendant has and continues to induce infringement. Defendants have actively encouraged

   or instructed others (e.g., its customers), and continues to do so, on how to use its products

   and services (e.g., U.S. wireless networks, wireless-network components that use

   performance measurements to suggest corrective actions and controlling access to location

   information) such to cause infringement claims 1–29 of the ‘517 patent, literally or under

   the doctrine of equivalents. Moreover, Defendant has known and should have known of

   the ‘517 patent, by at least by the date of the patent’s issuance, or from the issuance of the

   ‘284 patent, which followed the date that the patent’s underlying application was cited to

   Defendants by the U.S. Patent and Trademark Office during prosecution of one of

   Defendant’s patent applications, such that Defendant knew and should have known that it

   was and would be inducing infringement.

28. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

   or instructed others (e.g., its customers and/or the customers of its related companies), and

   continues to do so, on how to use its products and services e.g., U.S. wireless networks,

   wireless-network components that use performance measurements to suggest corrective

   actions and controlling access to location information) such as to cause infringement of

   one or more of claims 1–29 of the ‘517 patent, literally or under the doctrine of equivalents.

   Moreover, Defendant has known of the ‘517 patent and the technology underlying it from



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               at least the date of issuance of the patent or from the issuance of the ‘284 patent, which

               followed the date that the patent’s underlying application was cited to Defendants by the

               U.S. Patent and Trademark Office during prosecution of one of Defendant’s patent

               applications, such that Defendant knew and should have known that it was and would be

               contributorily infringing.

            29. Defendants have caused and will continue to cause Traxcell damage by infringing the ‘517

               patent.

      VI.      INFRINGEMENT (‘135 Patent (Attached as exhibit D))

            30. On August 11, 21020, U.S. Patent No. 10,743,135 (“the ‘135 patent”), attached as Exhibit

               D, entitled “Wireless network and method for suggesting corrective action in response to

               detecting communications errors” was duly and legally issued by the U.S. Patent and

               Trademark Office. Traxcell owns the ‘135 patent by assignment.

            31. The ‘135 Patent’s Abstract states, “A mobile wireless network and a method of operation

               provide analysis of mobile wireless device communications and suggested corrective

               initiated upon detecting communications performance issues. In some embodiments, the

               operations include blocking access to location information pertaining to a mobile wireless

               device based on the state of access flag that is maintained in the network for the mobile

               wireless device.”

            32. The following preliminary exemplary chart provides Traxcell’s allegations of

               infringement.

  Representative
                                            Corresponding Structure in Accused Systems
     Claim

A wireless network,
comprising:


                                                       25
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  Representative
                                            Corresponding Structure in Accused Systems
     Claim



at least two wireless    The following exemplifies this limitation’s existence in Accused Systems:
  devices each
  communicating via
  radio frequency
  signals;




a system of              Please note that Verizon uses three types of self-organizing network technology, that is,
  computers              C-SON, D-SON and V-SON and uses network equipment or solutions supplied from
  programmed to          vendors, for example, from Ericsson, etc. In addition to RAN vendor and third-party
  perform steps of       supplied SON features, Verizon has also developed its own proprietary SON
  referencing            implementation, known as V-SON.
  performance of at
  least one of the at    Plaintiff contends that a system of computers including Operations Support System
  least two wireless     (OSS or OSS-RC) of Verizon Wireless’ wireless telecommunications network,
  devices with           Ericsson’s SON solution [which includes SON Optimization Manager, SON Policy
  wireless network       Manager, SON Visualization, etc. and the software programs that run them] interfaced
  known parameters       or integrated with said Operations Support System (OSS or OSS-RC), and a set or
  and routinely          network of computers [which include Trace Processing Server (TPS), OSS Data
  storing                Gateway, RAN Analyzer, RAN Configuration Manager, Frequency Optimizer, Cell
  performance data       Optimizer, Network Capacity Planner and Implementation Server] operating,
  for the at least one   implementing and supporting the Ericsson’s SON solution in the wireless
                         telecommunications network, constituting the “system of computers”, corresponds to
                         this claim limitation, as the system receives MDT (Minimization of Drive Tests) reports,


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  Representative
                                          Corresponding Structure in Accused Systems
     Claim

 of the at least two   UE Measurement Reports, CTR (Cell Traffic Recordings), UETR (UE Traffic
 wireless devices;     Recording), etc., received or collected in the form of PM and Trace data.

                       Further, Ericsson’s SON solution includes SON Optimization Manager (SON OM),
                       SON Policy Manager, SON Visualization, etc. and the system of computers supporting
                       the Ericsson’s SON solution include Verizon Wireless’ wireless telecommunications
                       network’s Operations Support System (OSS or OSS-RC), Trace Processing Server
                       (TPS), OSS Data Gateway, RAN Analyzer, RAN Configuration Manager, Frequency
                       Optimizer, Cell Optimizer, Network Capacity Planner and Implementation Server.
                       (Please note that Ericsson SON Optimization Manager together with Ericsson Network
                       Manager and Network IQ delivers the full suite.)

                       Plaintiff contends that a system of computers executing or loaded with Ericsson’s SON
                       solution {which includes SON Optimization Manager (SON OM), SON Policy
                       Manager, SON Visualization, etc. } is programmed to reference performance of the
                       wireless device(s) with wireless network known parameters and to routinely store
                       performance data for the wireless device(s). That is, the system of computers receives
                       or collects UE-referenced network and device performance measurements from the
                       MDT (Minimization of Drive Tests) reports, UE Measurement Reports, etc. and
                       compares the collected (or received) performance data against the corresponding pre-
                       defined standards or thresholds. The system of computers is linked or connected to the
                       wireless network consisting of the various network elements including the radio-
                       tower(s) or base-station(s).

                       Further, plaintiff contends that the system of computers executing or loaded with
                       Ericsson’s SON solution {which includes SON Optimization Manager (SON OM), SON
                       Policy Manager, SON Visualization, etc.} and operating, implementing and supporting
                       SON solution in the wireless telecommunications network, corresponds to this claim
                       limitation, as the system of computers references performance of the wireless device(s)
                       with wireless network known parameters and routinely stores performance data for the
                       wireless device(s).

a first radio tower    Plaintiff contends the Verizon wireless network has radio towers adapted to receive RF
  adapted to receive signals from and transmit the RF signals to the wireless communications devices
  the radio frequency (specifically one or more of the mobile wireless communications devices).
  signals from, and
  transmit the radio
  frequency signals
  to, the at least one

                                                     27
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  Representative
                                             Corresponding Structure in Accused Systems
     Claim

 of the at least two
 wireless devices,

wherein the system       Plaintiff contends that the system of computers executing or loaded with Ericsson’s SON
 of computers            solution {which includes SON Optimization Manager (SON OM), SON Policy
 further receives the    Manager, SON Visualization, etc.} is further programmed to receive the performance
 performance data        data and suggests one or more corrective actions for the radio tower or base-station based
 and suggests at         upon the performance data for one or more wireless devices. The following exemplifies
 least one corrective    this limitation’s existence in Accused Systems:
 action obtained
 from a list of
 possible causes for
 the first radio
 tower based upon
 the performance
 data for the at least
 one of the at least
 two wireless
 devices,

wherein the first        Plaintiff contends that the radio tower or base-station generates an error code (for
 radio tower             example, in the form of alerts, alarms, notifications, etc.) based upon operation of one
 generates an error      or more wireless devices. The following exemplifies this limitation’s existence in
 code based upon         Accused Systems:
 operation of the at
 least one of the at
 least two wireless
 devices,

wherein the system       Plaintiff contends that the system of computers executing or loaded with Ericsson’s SON
 of computers is         solution {which includes SON Optimization Manager (SON OM), SON Policy
 further                 Manager, SON Visualization, etc.} corresponds to this claim limitation. The system of
 programmed to           computers performs management functions such as Fault Management (FM), etc. and is
 receive the error       capable of receiving network errors or faults from the radio tower(s) in the form of alerts
 code from the first     or alarms or notifications.
 radio tower;

and wherein the          Plaintiff contends that based upon the error-code, the system of computers executing or
 system of               loaded with Ericsson’s SON solution {which includes SON Optimization Manager

                                                         28
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  Representative
                                            Corresponding Structure in Accused Systems
     Claim

 computers is           (SON OM), SON Policy Manager, SON Visualization, etc., is programmed to suggest
 programmed,            the one or more corrective actions as an adjustment of RF signals of another radio-
 based upon the         tower(s) or base-station(s) for direct processing of signals from one or more of the
 error code, to         wireless devices based upon the error-code.
 suggest the at least
 one corrective         The system of computers can perform SON related functions that require alarm
 action as an           monitoring from the network elements (for example, radio-towers, etc.) which implies
 adjustment of the      that more than one radio-towers or base stations are present in the network. The system
 radio frequency        of computers optimizes the network by adjusting and fine-tuning network parameters
 signals of the         such as antenna tilt, transmission power, etc. of the concerned radio-tower(s) or base-
 second radio tower     station(s) based on RF information. These actions are suggested or performed by the
 in order to direct     system for automatically adjusting the parameters of the radio-tower(s) or base-station(s)
 processing of          in order to direct process signals from one or more of the wireless devices.
 signals from the at
 least one of the at
 least two wireless
 devices based upon
 the error code,

whereby the system      Plaintiff contends that the system of computers executing or loaded with Ericsson’s SON
 of computers           solution {which includes SON Optimization Manager (SON OM), SON Policy
 suggests a             Manager, SON Visualization, etc.} suggests one or more corrective actions of the RF
 corrective action of   signals of the one or more radio-towers or base-stations in order to improve
 the radio frequency    communication with one or more wireless devices based on the error code.
 signals of the first
 radio tower and the    As already mentioned above, the system of computers can perform SON related
 second radio tower     functions. The system of computers optimizes the network by adjusting and fine-tuning
 in order to improve    network parameters such as antenna tilt, transmission power, etc. of the concerned radio-
 communication          tower(s) or base-station(s) based on the RF information. These actions are suggested or
 with one or more       performed by the system for automatically adjusting the parameters of the radio-tower(s)
 of the at least two    or base-station(s) for improving communication with one or more wireless devices based
 wireless devices       on the error code.
 based on the error
 code.




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33. Defendant makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

   networks, wireless-network components, and related services that use performance

   measurements to suggest corrective actions such that Defendant infringes claims 1–30 of

   the ‘135 patent, literally or under the doctrine of equivalents.

34. Defendant put the inventions claimed by the ‘135 Patent into service (i.e., used them); but

   for Defendant’s actions, the claimed-inventions embodiments involving Defendant’s

   products and services would never have been put into service.              Defendant’s acts

   complained of herein caused those claimed-invention embodiments as a whole to perform,

   and Defendant obtaining monetary and commercial benefit from it.

35. Defendant has and continues to induce infringement. Defendants have actively encouraged

   or instructed others (e.g., its customers), and continues to do so, on how to use its products

   and services (e.g., U.S. wireless networks, wireless-network components that use

   performance measurements to suggest corrective actions) such to cause infringement

   claims 1–30 of the ‘135 patent, literally or under the doctrine of equivalents. Moreover,

   Defendant has known and should have known of the ‘135 patent, by at least by the date of

   the patent’s issuance, or from the issuance of the ‘284 patent, which followed the date that

   the patent’s underlying application was cited to Defendants by the U.S. Patent and

   Trademark Office during prosecution of one of Defendant’s patent applications, such that

   Defendant knew and should have known that it was and would be inducing infringement.

36. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

   or instructed others (e.g., its customers and/or the customers of its related companies), and

   continues to do so, on how to use its products and services e.g., U.S. wireless networks,

   wireless-network components that use performance measurements to suggest corrective



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       actions) such as to cause infringement of one or more of claims 1–30 of the ‘135 patent,

       literally or under the doctrine of equivalents. Moreover, Defendant has known of the ‘135

       patent and the technology underlying it from at least the date of issuance of the patent or

       from the issuance of the ‘284 patent, which followed the date that the patent’s underlying

       application was cited to Defendants by the U.S. Patent and Trademark Office during

       prosecution of one of Defendant’s patent applications, such that Defendant knew and

       should have known that it was and would be contributorily infringing.

   37. Defendants have caused and will continue to cause Traxcell damage by infringing the ‘135

       patent.

VII.      INFRINGEMENT ‘147 Patent (Attached as exhibit E))

   38. On October 27, 2020, U.S. Patent No. 10,820,147 (“the ‘147 patent”), attached as Exhibit

       E, entitled “Mobile wireless device providing off-line and on-line geographic navigation

       information” was duly and legally issued by the U.S. Patent and Trademark Office.

       Traxcell owns the ‘147 patent by assignment.

   39. The ’147 Patent’s Abstract states, “A mobile device, wireless network and their method of

       operation provide both on-line (connected) navigation operation, as well as off-line

       navigation from a local database within the mobile device. Routing according to the

       navigation system can be controlled by traffic congestion measurements made by the

       wireless network that allow the navigation system to select the optimum route based on

       expected trip duration.”

   40. The following preliminary exemplary chart provides Traxcell’s allegations of

       infringement.




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 Exemplary Claim                            Corresponding Structure in Accused Systems

A wireless
communications
system including:



a first radio-          Plaintiff contends that the Verizon wireless network has base stations that include a radio
  frequency             frequency transceiver. Wireless mobile communication device— including but not
  transceiver within    limited to Verizon branded devices (now discontinued) such as Verizon Wireless Ellipsis
  a wireless mobile     8 HD, Verizon Wireless Ellipsis 10, Verizon Wireless Ellipsis 8, Verizon Wireless
  communications        Ellipsis 7, etc. or other (third-parties) branded devices such as Samsung Galaxy S20,
  device and an         Samsung Galaxy S20+, Samsung Galaxy S20 Ultra, Samsung Galaxy S10, Samsung
  associated first      Galaxy S10+, Samsung Galaxy S9+, Samsung Galaxy S9, Samsung Galaxy S8, Samsung
  antenna to which      Galaxy S8+, Apple iPhone 11 Pro Max, Apple iPhone 11 Pro, Apple iPhone 11, Apple
  the first radio-      iPhone XR, Apple iPhone XS, Apple iPhone X, Apple iPhone SE etc. (refer Exhibit B
  frequency             for complete list)—include radio-frequency transceivers and an associated antenna.
  transceiver is        When wireless communication device’s transceivers and antennas are in communication,
  coupled,              they are coupled.

wherein the first       Plaintiff contends that the wireless communication device on the Verizon wireless
 radio-frequency        network includes a radio frequency transceiver. Wireless mobile communication
 transceiver is         device— including but not limited to Verizon branded devices (now discontinued) such
 configured for         as Verizon Wireless Ellipsis 8 HD, Verizon Wireless Ellipsis 10, Verizon Wireless
 radio-frequency        Ellipsis 8, Verizon Wireless Ellipsis 7, etc. or other (third-parties) branded devices such
 communication          as Samsung Galaxy S20, Samsung Galaxy S20+, Samsung Galaxy S20 Ultra, Samsung
 with a wireless        Galaxy S10, Samsung Galaxy S10+, Samsung Galaxy S9+, Samsung Galaxy S9,
 communications         Samsung Galaxy S8, Samsung Galaxy S8+, Apple iPhone 11 Pro Max, Apple iPhone 11
 network;               Pro, Apple iPhone 11, Apple iPhone XR, Apple iPhone XS, Apple iPhone X, Apple
                        iPhone SE etc. (refer Exhibit B for complete list)—include radio-frequency transceivers
                        and an associated antenna. When wireless communication device’s transceivers and
                        antennas are in communication, they are coupled.

a first processor       Plaintiff contends that each Verizon wireless device includes a processor. Wireless
  within the wireless   mobile communication device- including but not limited to Verizon branded devices
  mobile                (now discontinued) such as Verizon Wireless Ellipsis 8 HD, Verizon Wireless Ellipsis
  communications        10, Verizon Wireless Ellipsis 8, Verizon Wireless Ellipsis 7, etc. or other (third-parties)
  device coupled to     branded devices such as Samsung Galaxy S20, Samsung Galaxy S20+, Samsung Galaxy
  the at least one      S20 Ultra, Samsung Galaxy S10, Samsung Galaxy S10+, Samsung Galaxy S9+, Samsung
  first radio-          Galaxy S9, Samsung Galaxy S8, Samsung Galaxy S8+, Apple iPhone 11 Pro Max, Apple
  frequency             iPhone 11 Pro, Apple iPhone 11, Apple iPhone XR, Apple iPhone XS, Apple iPhone X,

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 Exemplary Claim                             Corresponding Structure in Accused Systems

 transceiver            Apple iPhone SE etc. has a processor. When wireless communication device’s
 programmed to          transceivers and processor are in communication, they are coupled. Further, the Verizon
 receive                Navigator application or other application such as Google Maps, on the Exhibit-B utilizes
 information            the processor coupled to the transceiver to estimate/receive the location on mobile
 indicative of a        wireless communications devices (specifically one or more of the mobile wireless
 location of the        communications devices identified on Exhibit B) by utilizing Exhibit C (wireless
 wireless mobile        communication network or first computer).
 communications
 device and             Icon (for example, “My GPS Location”) on the Verizon Navigator application maps
 generate an            indicates the location of the wireless communication device (specifically one or more of
 indication of a        the mobile wireless communications devices identified on Exhibit B), with respect to the
 location of the        various geographical features such as streets, cities, or any point of interest. Furthermore,
 wireless mobile        the Verizon Navigator application mapping information comes through the Verizon
 communications         wireless network i.e. by using data plan or Wi-Fi network and is stored within the memory
 device with respect    of the wireless communication device
 to geographic
 features according
 to mapping
 information stored
 within the wireless
 mobile
 communications
 device,

and wherein the first   Plaintiff contends that the processor processes location-service information, including
 processor              displaying user navigation information according to the device’s location with regards to
 determines user        geographic features and a user-specified destination. For example, using Google Maps,
 navigation             Verizon VZ Navigator or other such application, the user device locates the device’s
 information and        current location on Google Maps app or Verizon VZ Navigator app and then provides
 displays the user      details for destination on the options, provided in Google Maps, Verizon VZ Navigator
 navigation             or other such application. The user can then navigate (i.e., the processor processes display
 information            information) in real time from current location to destination. The processor displays
 according to the       navigation information on Google Maps, Verizon VZ Navigator or other such application
 location of the        to display turn-by-turn directions. Using Google Maps, Verizon VZ Navigator or other
 wireless mobile        such application, the processor will show the directions and use real-time traffic
 communications         information to find the best route to the specified destination.
 device with respect
 to the geographic
 features and a

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 Exemplary Claim                            Corresponding Structure in Accused Systems

 destination            The wireless communication device having Verizon VZ Navigator application or Google
 specified at the       maps, displays to the user navigation information, based on the destination entered by the
 wireless mobile        user.
 communications
 device,                The Verizon VZ Navigator application or Google maps estimates/receives the location of
                        the wireless communication device (specifically one or more of the mobile wireless
                        communications devices identified on Exhibit B), by utilizing Exhibit C (wireless
                        communication network), that is, Verizon communication network, and indicates it on
                        the map with respect of various geographic features such as streets, cities, or any point of
                        interest. The Verizon VZ Navigator application or Google Maps provides route from
                        present location to the destination entered by the user on the wireless communication
                        device.

wherein the first       Plaintiff contends that each Verizon wireless device (and others) corresponds to this claim
 processor further      limitation because each Exhibit-B item includes a processor. Wireless mobile
 sends the user         communication device- including but not limited to Verizon branded devices (now
 navigation             discontinued) such as Verizon Wireless Ellipsis 8 HD, Verizon Wireless Ellipsis 10,
 information to the     Verizon Wireless Ellipsis 8, Verizon Wireless Ellipsis 7, etc. or other (third-parties)
 network as a           branded devices such as Samsung Galaxy S20, Samsung Galaxy S20+, Samsung Galaxy
 number of              S20 Ultra, Samsung Galaxy S10, Samsung Galaxy S10+, Samsung Galaxy S9+, Samsung
 segments,              Galaxy S9, Samsung Galaxy S8, Samsung Galaxy S8+, Apple iPhone 11 Pro Max, Apple
                        iPhone 11 Pro, Apple iPhone 11, Apple iPhone XR, Apple iPhone XS, Apple iPhone X,
                        Apple iPhone SE etc. has a processor.

                        Further, the Verizon VZ Navigator application or Google Maps or any other location
                        based application, on the Exhibit-B utilizing the processor can send the user navigation
                        information to the network as a number of segments as to receive the traffic information
                        for the segments, it is required to send the navigation information to the network as a
                        number of segments.

wherein at least one    Plaintiff contends that Verizon Navigator server or Google Maps server or any other
 other processor        location based services server (Exhibit D) corresponds to this claim limitation because
 outside the            each such location based services server can be outside the network and needs to be
 network updates        contacted to update the user navigation information in conformity with traffic congestion
 the user navigation    information accessible to the server by computing a numerical value for the segments
 information in         corresponding to the expected time to travel through the segments.
 conformity with
 traffic congestion
 information
 accessible to the at

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 Exemplary Claim                            Corresponding Structure in Accused Systems

 least one other
 processor outside
 the network by
 computing a
 numerical value
 for the segments
 corresponding to
 the expected time
 to travel through
 the segments,

updates the user        Plaintiff contends that Verizon Navigator server or Google Maps server or any other
 navigation             location based server corresponds to this claim limitation because each such server
 information in         updates the user navigation information in conformity with the numerical values for the
 conformity with        segments and sends the updated user navigation information to the wireless mobile
 the numerical          communications device.
 values for the
 segments, and
 sends the updated
 user navigation
 information to the
 wireless mobile
 communications
 device;

at least one second     Plaintiff contends that each Verizon base station corresponds to this claim limitation
  radio-frequency       because each is a base station. The Verizon’s communication network includes cell sites
  transceiver and an    or towers (examples of different types of compatible Verizon access points or towers are
  associated at least   Verizon towers as well as towers sold by third-parties to Verizon, Verizon small cells,
  one second            Verizon network extenders or signal boosters, Verizon antennae, etc.) which provide
  antenna of the        radio communication to and from wireless communication devices. Thus, the cell sites
  wireless              (base stations) include the radio frequency transceiver coupled with antenna in Verizon’s
  communications        communication network. Towers and base stations include radio-frequency transceivers
  network to which      designed and used for radio-frequency communication with at least one antenna. When
  the second radio-     base-station transceivers and antennas are in communication, they are coupled. Further,
  frequency             in addition to being so coupled, the transceivers and antenna, by placement within a base
  transceiver is        station, physically coupled.
  coupled; and



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 Exemplary Claim                          Corresponding Structure in Accused Systems

a second processor    Plaintiff contends that a computer corresponds to this claim limitation because each
  coupled to the at   described computer is coupled to cell sites/base station of the Verizon’s communication
  least one second    network which provides radio communication to and from wireless communication
  radio-frequency     mobile devices. The cell sites/base station include the radio frequency transceiver(s) and
  transceiver         the associated antenna(s).
  programmed to
  acquire the         It is to be noted that Verizon uses network equipment or solutions supplied from vendors,
  information         for example, from Ericsson, etc. In addition to RAN vendor and third-party supplied SON
  indicative of a     features, Verizon has also developed its own proprietary SON implementation, known as
  location of the     V-SON.
  wireless mobile     Plaintiff contends that a system of computers including Operations Support System (OSS
  communications      or OSS-RC) of Verizon Wireless’ wireless telecommunications network, Ericsson’s SON
  device,             solution [which includes SON Optimization Manager, SON Policy Manager, SON
                      Visualization, etc. and the software programs that run them] interfaced or integrated with
                      said Operations Support System (OSS or OSS-RC), and a set or network of computers
                      [which include Trace Processing Server (TPS), OSS Data Gateway, RAN Analyzer, RAN
                      Configuration Manager, Frequency Optimizer, Cell Optimizer, Network Capacity
                      Planner and Implementation Server] operating, implementing and supporting the
                      Ericsson’s SON solution in the wireless telecommunications network, is equivalent to the
                      second processor and corresponds to this claim limitation, as such “system of computers”
                      is coupled to the second radio-frequency transceiver and receives MDT (Minimization of
                      Drive Tests) reports, UE Measurement Reports, CTR (Cell Traffic Recordings), UETR
                      (UE Traffic Recording), etc., received or collected in the form of PM and Trace data.

                      Therefore, the second processor ascertains wireless mobile communications device
                      geolocation information from Position Reference Signals (PRS), the MDT reports, UE
                      measurement reports and Trace data (CTR and UETR) received or collected in the form
                      of PM (Performance Measurements) and Trace data.

                      The second processor i.e. First Computer communicatively coupled to the second RF
                      transceiver(s) and second antenna is programmed to determine a wireless mobile
                      communication device’s location.

wherein the second    Plaintiff contends that the Verizon wireless network has a computer that corresponds to
 processor            this claim limitation because second processor will only be able to determine the location
 selectively          of the Wireless communication device, if the location flag on the Wireless
 acquires the         communication device is set or turned “ON”.
 information
 indicative of a


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 Exemplary Claim                          Corresponding Structure in Accused Systems

 location of the
 wireless mobile
 communications
 device dependent
 on the setting of
 preference flags,

wherein the second    Plaintiff contends a wireless device can set preference flags that enable or disable
 processor acquires   accessibility to data relevant to the device’s location by the Verizon computer or second
 the information      processor. Such programmability by a wireless device is at times known as a privacy
 indicative of a      setting. Further, such programmability is available by location-permission granting
 location of the      (wireless mobile communications device must grant permission).
 wireless mobile
 communications       The Verizon computer will only be able to determine and track the location of the
 device if the        Wireless communication device such as but not limited to Verizon branded devices (now
 preference flags     discontinued) such as Verizon Wireless Ellipsis 8 HD, Verizon Wireless Ellipsis 10,
 are set to a state   Verizon Wireless Ellipsis 8, Verizon Wireless Ellipsis 7, etc. or other (third-parties)
 that permits         branded devices such as Samsung Galaxy S20, Samsung Galaxy S20+, Samsung Galaxy
 tracking of the      S20 Ultra, Samsung Galaxy S10, Samsung Galaxy S10+, Samsung Galaxy S9+, Samsung
 wireless mobile      Galaxy S9, Samsung Galaxy S8, Samsung Galaxy S8+, Apple iPhone 11 Pro Max, Apple
 communications       iPhone 11 Pro, Apple iPhone 11, Apple iPhone XR, Apple iPhone XS, Apple iPhone X,
 device,              Apple iPhone SE etc., if the location flag on the Wireless communication device is turned
                      “ON” (that is, locations privacy settings are set to “On”).

and wherein the       Plaintiff contends that a Verizon wireless network computer corresponds to this claim
 second processor     limitation because if the preference flags are not enabled (i.e., the wireless-mobile-
 does not acquire     communication device’s user has not granted permission), the computer or second
 the information      processor do not proceed with determining the device’s location or communicating that
 indicative of the    location.
 location of the
 wireless mobile      The computer will not be able to determine and track the location of the Wireless
 communications       communication device such as but not limited to Verizon branded devices (now
 device if the        discontinued) such as Verizon Wireless Ellipsis 8 HD, Verizon Wireless Ellipsis 10,
 preference flags     Verizon Wireless Ellipsis 8, Verizon Wireless Ellipsis 7, etc. or other (third-parties)
 are set to a state   branded devices such as Samsung Galaxy S20, Samsung Galaxy S20+, Samsung Galaxy
 that prohibits       S20 Ultra, Samsung Galaxy S10, Samsung Galaxy S10+, Samsung Galaxy S9+, Samsung
 tracking of the      Galaxy S9, Samsung Galaxy S8, Samsung Galaxy S8+, Apple iPhone 11 Pro Max, Apple
 wireless mobile      iPhone 11 Pro, Apple iPhone 11, Apple iPhone XR, Apple iPhone XS, Apple iPhone X,




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Exemplary Claim                         Corresponding Structure in Accused Systems

communications     Apple iPhone SE etc. if the location flag on the Wireless communication device is turned
device.            off (that is, locations privacy settings are set to “off”).



       41. Defendant makes, uses, offers to sell, and/or sells within or imports into the U.S. wireless

          networks, wireless-network components, and related services that use identified locations

          of wireless devices to provide directional assistance such that Defendant infringes claims

          1–24 of the ‘147 patent, literally or under the doctrine of equivalents.


       42. Defendant put the inventions claimed by the ‘147 Patent into service (i.e., used them); but

          for Defendant’s actions, the claimed-inventions embodiments involving Defendant’s

          products and services would never have been put into service.              Defendant’s acts

          complained of herein caused those claimed-invention embodiments as a whole to perform,

          and Defendant obtaining monetary and commercial benefit from it.

       43. Defendant has and continues to induce infringement. Defendants have actively encouraged

          or instructed others (e.g., its customers), and continues to do so, on how to use its products

          and services (e.g., U.S. wireless networks, wireless-network components that provide on-

          line and off-line navigation) such to cause infringement claims 1–24 of the ‘147 patent,

          literally or under the doctrine of equivalents. Moreover, Defendant has known and should

          have known of the ‘147 patent, by at least by the date of the patent’s issuance, or from the

          issuance of the ‘284 patent, which followed the date that the patent’s underlying application

          was cited to Defendants by the U.S. Patent and Trademark Office during prosecution of

          one of Defendant’s patent applications, such that Defendant knew and should have known

          that it was and would be inducing infringement.


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       44. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

          or instructed others (e.g., its customers and/or the customers of its related companies), and

          continues to do so, on how to use its products and services e.g., U.S. wireless networks,

          wireless-network components that provide on-line and off-line navigation) such as to cause

          infringement of one or more of claims 1–24 of the ‘147 patent, literally or under the

          doctrine of equivalents. Moreover, Defendant has known of the ‘147 patent and the

          technology underlying it from at least the date of issuance of the patent or from the issuance

          of the ‘284 patent, which followed the date that the patent’s underlying application was

          cited to Defendants by the U.S. Patent and Trademark Office during prosecution of one of

          Defendant’s patent applications, such that Defendant knew and should have known that it

          was and would be contributorily infringing.

       45. Defendants have caused and will continue to cause Traxcell damage by infringing the ‘147

          patent.

       VIII. PRAYER FOR RELIEF

WHEREFORE, Traxcell respectfully requests that this Court:

  i.      enter judgment that Defendants have infringed the Patents-in-Suit;

 ii.      award Traxcell damages in an amount sufficient to compensate it for Defendants’

          infringement of the Patents-in-Suit, in an amount no less than a reasonable royalty, together

          with prejudgment and post-judgment interest and costs under 35 U.S.C. § 284;

iii.      award Traxcell an accounting for acts of infringement not presented at trial and an award

          by the Court of additional damage for any such acts of infringement;

 iv.      declare this case to be “exceptional” under 35 U.S.C. § 285 and award Traxcell its

          attorneys’ fees, expenses, and costs incurred in this action;



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 v.    declare Defendants infringement to be willful and treble the damages, including attorneys’

       fees, expenses, and costs incurred in this action and an increase in the damage award

       pursuant to 35 U.S.C. §284;

vi.    a decree addressing future infringement that either (i) awards a permanent injunction

       enjoining Defendants and their agents, servants, employees, affiliates, divisions, and

       subsidiaries, and those in association with Defendants, from infringing the claims of the

       Patents-in-Suit or (ii) award damages for future infringement in lieu of an injunction, in an

       amount consistent with the fact that for future infringement the Defendants will be

       adjudicated infringers of a valid patent, and trebles that amount in view of the fact that the

       future infringement will be willful as a matter of law; and,

vii.   award Traxcell such other and further relief as this Court deems just and proper.

                                        JURY DEMAND

       Traxcell hereby requests a trial by jury on issues so triable by right.

                                              Respectfully submitted,

                                              Ramey & Schwaller, LLP


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